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                                              Colorado Case No. 1:22-mj-00111-NRN

                                                              FILED
                                                   UNITED STATES DISTRICT COURT
                                                        DENVER, COLORADO
                                                           10:49 am, Jun 28, 2022

                                                     JEFFREY P. COLWELL, CLERK
        Case 1:22-mj-00111-NRN Document 1 Filed 06/28/22 USDC Colorado Page 2 of 2
      Case 2:19-cr-00251-JNP Document 30 *SEALED* Filed 06/17/22 PageID.90 Page 1 of 1


12C
                                    UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF UTAH

                    Petition and Order for Warrant for Person Under Supervision

Name of Person: Richer Briyan Valle-Raudales                         Docket Number: 2:19CR00251-001

Name of Sentencing Judicial Officer:         Honorable Jill N. Parrish
                                             U.S. District Judge

Date of Original Sentence: September 24, 2019
Original Offense: Reentry of a Previously Removed Alien
Original Sentence: 36 Months’ Probation

Type of Supervision: Probation                                  Supervision Commenced: September 24, 2019

                                        PETITIONING THE COURT
☒ To issue a warrant and toll the supervision term
  Last known address: 1053 South Quivas, Apt. 304, Denver, CO 80223 (building exterior reflects 1065
  with units 101-408 listed)

                                                     CAUSE

The probation officer believes that this person has violated the conditions of supervision as follows:

Allegation No. 1: On or about April 29, 2022, the person under supervision committed another federal, state, or
local crime, to wit: illegally reentered the United States.

Evidence in support of the above-stated allegation was provided by the Federal Bureau of Investigations,
Criminal Justice Information Services and the Denver Community Corrections Pretrial Services Unit.

                                          I declare under penalty of perjury that the foregoing is true and correct.

                                                                            ____________________________
                                                                         by Maria EA Sanchez
                                                                            Supervisory U.S. Probation Officer
                                                                            June 15, 2022
THE COURT ORDERS:
X
☐   The issuance of a warrant and tolling of the supervision time
☐   The issuance of a summons
☐   No action
☐   Other
                                                                         Honorable Jill N. Parrish
                                                                         United States District
                                                                         Judge Date: 06/16/2022
